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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                           CRIMINAL CASE NO.
             v.
                                                           1:13-cr-45–07-JEC-JSA
             ALONSO ALFONSO RIVERA,


                   Defendant.

                                                   ORDER

                    This case is before the Court on the Magistrate Judge’s Report

             and Recommendation [196] recommending accepting defendant’s plea of

             guilty tendered on August 29, 2013.           No objections to the Report and

             Recommendation [196] have been filed.

                    It is hereby Ordered that the Court ADOPTS the Magistrate

             Judge’s Report and Recommendation [196] and ACCEPTS the defendant’s

             plea of guilty as to Counts One and Seven of the Indictment.

                    SO ORDERED this 23rd day of May, 2014.



                                                 /s/ Julie E. Carnes
                                                 JULIE E. CARNES
                                                 CHIEF U.S. DISTRICT JUDGE




AO 72A
(Rev.8/82)
